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         'AD 245B (CASD) (Rev. 4114)    Judgment in a Criminal Case
                    Sheet I


                                                                                                                                         JUN 2 1 2016
                                                   UNITED STATES DISTRICT COUR r
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                                                       SOUTHERN DISTRICT OF CALIFORNIA                                           " . ,i( uS DiS, fT' "UI'1T
                                                                                                                         ~~UTHERN DIS THIGT' OF C.~L!FORNIA
                         UNITED STATES OF AMERlCA                                        JUDGMENT IN A CRmnNitL-ekSE-~_Ccc'E'l!TY
                                             v.                                          (For Offenses Committed On or After November I. 1987)

                              CANDELARlO PEREZ [7]                                       Case Number: 14CR0657-BTM
                                                                                         SAJI VETTIYIL
                                                                                         Defendant's Attorney
         REGISTRATION NO. 71339097

         o
         THE DEFENDANT:
         181 pleaded guilty to count(s) _1_O_F_T_H_E_IN_D_I_C_T_ME_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         o was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               after a plea of not guilty.
               Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                 Count
         Title & Section                          Nature of Offense                                                                             Numberls)
    21 USC 846, 841(a)(I)                 CONSPIRACY TO POSSESS CONTROLLED SUBSTANCES WITH INTENT
                                          TO DISTRIBUTE




            The defendant is sentenced as.provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
     to the Sentencing Reform Act of 1984.
     D The defendant has been found not guilty on count(s)
       Count(s)                                            -------0--0-------------
     O          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is       are dismissed on the motion of the United States.
     181 Assessment: $100 to be paid within the first (1st) year of Supervised Release.

      18I Fine waived                                   o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
           IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
     defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                   JUNE 10,2016




                                                                                                                                                  14CR0657-BTM
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AO 2458 (CASD) (Rev. 4114)   Judgment in a Criminal Case
            Sheet 2   Imprisonment

                                                                                                   Judgmenl- Page _..:2,-- of    4
 DEFENDANT: CANDELARIO PEREZ [7]
 CASE NUMBER: 14CR0657-BTM
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED (64 DAYS).



     o Sentence imposed pursuant to Title 8 USC Section 1326(b).
     o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.       OP.ill.    on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                                  RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                        to

at                                                     with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                          By ______~~~==~~~~~-------
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                         14CR0657-BTM
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AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                              Judgment Page    ----L- of           4
DEFENDANT: CANDELARIO PEREZ [7]
CASE NUMBER: 14CR0657.BTM
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
TWO (2) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000 pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with hie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registmtion agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notiry the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notiry third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or chamcteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

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            AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                       Sheet 4 - Special Conditions
                                                                                                             Judgment Page ~ of _--,,"4_ _
            DEFENDANT: CANDELARIO PEREZ [7)
            CASE NUMBER: 14CR0657-BTM




                                                 SPECIAL CONDITIONS OF SUPERVISION
    I5(l Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    ~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
        a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
        this condition.

    D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
        counseling sessions per month as directed by the probation officer.
    o   Not transport, harbor, or assist undocumented aliens.
    o   Not associate with undocumented aliens or alien smugglers.
    D Not reenter the United States illegally.
    ~ Not enter the Republic of Mexico without written permission of the Court or probation officer.
    181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
    fg) Not possess any narcotic drug or controlled substance without a lawful medical prescription.
    fg) Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
    181 Remain in your place of residence for a period of 180 days, except while working at verifiable employment, attending religious services, or
        undergoing medical treatment or any such other reasons approved by the probation officer. The defendant shall be subject to electronic
        monitoring, at his expense.


    o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
        officer, if directed.

    o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
    D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
        placement.
    ~ Seek and maintain full time employment and/or schooling or a combination of both.
    D Resolve all outstanding warrants within                 days.
    o   Complete           hours of community service in a program approved by the probation officer within
    D
    D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
        reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
        of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




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